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Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 2 of 27 PageID #:2
Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 3 of 27 PageID #:3
Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 4 of 27 PageID #:4
Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 5 of 27 PageID #:5
Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 6 of 27 PageID #:6
Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 7 of 27 PageID #:7
Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 8 of 27 PageID #:8
Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 9 of 27 PageID #:9
Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 10 of 27 PageID #:10
Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 11 of 27 PageID #:11
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Case: 1:00-cv-06403 Document #: 1 Filed: 10/16/00 Page 27 of 27 PageID #:27
